Case 2:10-cr-00851-CCC          Document 260    Filed 02/20/13     Page 1 of 29 PageID: 2578



 NO] FOR PUBLICATION

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA,
                                                   Hon. Dennis M. Cavanaugh
                Plaintiff,
                                                          OPINION
                     V.

                                                   Civil Action No. 1 0CR85 1 (DMC)
 S I EPI II N 1)1 PIR() a/k/a BLach
 Al BI RT Cl RNADAS a/k/a “Fhe Bull’
 \lNfIO I AGRASSO
 RICIIARD DEHMER a/k/a “Dickie,”
 VINCENT AULISI a/k/a “The Vet,”
 THOMAS LEONARDIS a/k/a “Tommy.”
 ROBERT RUIZ a/k/a “Bobby,”
 MICHAEL TRUEBA a/k/a “Mikey,”
 SALVATORE LAGRASSO,
 MICHAEL NICOLOSI,
 ROCCO FERRANDINO, and
 JULIO PORRAO

               I)e lendants,



 DENNIS M. CAVANAUGH. U.S.D.J.:

        This matter comes before the Court upon Motions by Defendants Julio Porrao (“Porrao”)

 (ECF No. 185), Michael Trueba (“Trueba”) (ECF No. 190), Salvatore LaGrasso (“S. LaGra
                                                                                         sso”)
 (ECF No. 191, 192, 193, 196), Albert Cernadas (“Cernadas”) (ECF No. 194), Richard
                                                                                     I)ehmer

 ( Dchmei ) (FE F No 195), Stephen Depiro ( Depno ) (ECI No 197), Rocco Feriandrno
 ( I ciiandino ) (EC I No 198), Ehomas Leonardas ( ‘Leonardis ) (LE F No 199) Vincent Aulisi

 (“Aulisi”) (ECF No, 200), Nunzio LaGrasso (“N. LaGrasso”) (ECF No. 201) and Robert Ruiz
Case 2:10-cr-00851-CCC          Document 260       Filed 02/20/13     Page 2 of 29 PageID: 2579



 (“Ruiz”) (ECF No. 202) (collectively, “Defendants”). Oral argument was
                                                                            heard before the Court
 on February 12. 2012. After carefully considering all the written submissions
                                                                                  and arguments of
 parties, based on the following and for the reasons expressed herein, Defend
                                                                              ants’ motions are

 granted in part and denied in part.

 L       BACKGROUND

         United States v. Depiro is 103 count indictment against 14 individuals. (g Second

 Superseding Indictment, Dec. 12, 2012, ECF No. 149). The first count of the 103 count

 indictment charges a racketeering conspiracy against four individuals. Depiro,
                                                                                  Cernadas. N.
 LaGrasso and Dehmer and 140 Racketeering Acts. Racketeering Acts I through 137
                                                                                         allege
 various extortions against Cernadas (Racketeering Acts 1-94) and N. LaGra
                                                                             sso Rackctcering

 Acts 95- 137). Racketeering Acts 138 through 140 allege various gambling ollense
                                                                                      s against
 Dehmer and Depiro. Count 2 charges Dehmer and Depiro with a second rackete
                                                                                    ering conspiracy

 to collect unlawful debts.

        Count 3 alleges a non-RICO extortion conspiracY against 12 individuals: relevant to the

 motions at hand. Dehmer, Depiro, Cernadas, N. LaGrasso. S. LaGrasso. Leonar
                                                                                   dis, Ruiz and

 Trueba. Counts 4 through 89 charge the substantive offenses of extortion on various dates

 involving various “John Does.” The extortion scheme is charged in the Count I RICo

 conspiracy and Count 3 Hobbs Act conspiracy. The Count 1 RICO defendants, 1)epiro
                                                                                          , Cernadas
 and N. LaGrasso, are alleged co-conspirators of the Count 3 non-RICO defendants
                                                                                      (Aulisi,
Leonardis, Ruiz, Trueba, S. LaGrasso, Nicolosi, Ferrandino and Porrao). Among
                                                                                    the numerous
alleged extortion victims of this scheme, the Indictment alleges eight specific person
                                                                                       s. identified
as lohn Doc 1 through         ho ere extortcd b both RICO and non-RICO dJLnd mts it
Case 2:10-cr-00851-CCC            Document 260         Filed 02/20/13    Page 3 of 29 PageID: 2580



 varying times over the length of the conspiracy. The substantive extortion counts (Coun
                                                                                             ts 4
 through Counts 89) all arise out of the same alleged extortion conspiracy. and are alleged agains
                                                                                                          t
 RICO and non-RICO defendants alike. In addition, Count 90 charges Ruiz with obstruction
                                                                                                     of
 justice arising from the actions he allegedly took to conceal the extortion scheme when
                                                                                             law
 enforcement’s investigation became overt. Counts 91 through 103 charge various gambl
                                                                                             ing
 offenses against Dehmer and Depiro.

           All Defendants are charged with extortion; none are charged with crimes different in

 nature or degree. The indictment alleges that both types of conduct at issue, extortion and
                                                                                               illegal

 gambling, were perpetrated on behalf, and for the benefit, of the Genovese organized crime

 family.

 ii.       DISCUSSION

           Defendants make multiple pretrial motions, The. Court will address them each in turn.

           A. Motion for Severance

           DePiro, Cernadas, Dehmer, Aulisi, Leonardis, Ruiz, Trueba, S. LaGrasso, Ferrandino,

 and Porrao move for the Court to sever the extortion conspiracy count and its related offense
                                                                                                    s
 from the RICO counts and other unrelated charges to ensure a fair trial. At oral argument,
                                                                                               the
 Court determined that all Defendants were seeking two trials: one trial for Counts 3-89. and

 another trial for Counts 1—2 and 90—103. S. LaGrasso. Dehmer. Ruiz and Porrao also reques
                                                                                                t that
 their individual trials be severed from the other defendants.

           Federal Rule of Criminal Procedure 14(a) allows for a district court to order severance if

 the joinder of offenses will prejudice a defendant.       FED. R. CRIM. p. 14(a). The decision

 whether to sever claims is a highly discretionary one. United States v. Urban, 404 F.3d 754.
                                                                                                    775
Case 2:10-cr-00851-CCC          Document 260            Filed 02/20/13    Page 4 of 29 PageID: 2581



 (3d Cir, 2005). The public interest generally favors joint trials. United Slates v. Eufrasio, 935

 F.2d 553, 568 (3d Cir, 1991). indeed, a court should grant a severance “only if there is a serious

 risk that a joint trial would compromise a specific trial right of one of the defendants, or prevent

 a jury horn makmg a reliable judgment about guilt or innocence          Zafiro v United States 506

 U.S. 534, 537 (1993). Defendants seeking a severance bear an especially “heavy burden.”

 United States v, Console, 13 F.3d 641, 655 (3d Cir. 1993). ‘[Djefendants are not entitled
                                                                                                to a
 severance merely because they may have a better chance for an acquittal in separate trials,”

 Lihan 404 1 3d it 775 ‘1 he mcie possibility of piejudice is also not cnough Sec e
                                                                                    g Umtcd ,




 StatLs    Vallci 392 led App\ 919 926 (3d Cii 2009) (iejccting algumcnts toi sc\elaflcL. that

 “evidence was so horrific it had to spillover into the jury’s mind” and that “specter of violence

 against vitnesses vvas highly prejudicial    ), see also United States ‘v Reicheiter, 647 F 2d 397
 400 (3d Cir. 1981) (“Mere allegations of prejudice are not enough”). Nor is a severance

 warranted “solely because the evidence in regard to certain counts is more damaging than

 c” ldcncL in iLgaids to othei counts   United States x Bomman, 559 1 3d 150, 156 (3d Cu

 2009). Instead, in order to obtain a severance, a defendant must demonstrate that “not only

 would the court abuse its discretion if it denied severance, but also that the denial of severance

 would lead to clear and substantial prejudice resulting in a manifestly unfair trial,” United States

 v. Lore, 430 F.3d 190, 205 (3d Cir. 2005).

          Defendants argue that at its core, the Government’s case is a Hobbs Act extortion ease, as

 such allegations comprise the vast majority of the Indictment, spanning Counts 3 through 89.

 (See g., Ferrandino Br., ECF No. 198; Cernadas Br., ECF No. 194). The 1)efendants argue that

 the “spillover prejudice” that would occur if’ all counts were tried together would handicap both


                                                    4
Case 2:10-cr-00851-CCC             Document 260         Filed 02/20/13    Page 5 of 29 PageID: 2582



 the RICO and non-RICo Defendants at trial. Cernadas, with whom Depiro joins, illustrates the.

 main argument:

         The sensational allegations about the history of organized crime and its use of
         violence contained in the racketeering charge will interfere with Mr. Cernadas s
         ability to achieve a fair trial on the core allegations in the case the extortion
         conspiracy and related substantive extortion offenses as well as the ability of his
                                                                  —




         co-defendants who are not named in the racketeering offenses to obtain a fair trial
         on the offenses with which they are charged.

 (Cernadas Br. 9-10, ECF No. 194)

         Defendants argue there will be spillover prejudice in three regards: 1) from the gambling

 and the references to gambling; 2) from the extortionate collection of gambling debts as oppose
                                                                                                            d
 to the extortion of union members; and 3) references to organized crime and the (lenovese

 family, and the manner and means in the RICO counts (Counts I and 2). (Sec Transcript of Oral

 Argument (“Tr.”). Feb. 12. 2013. 12:21-25     -   13:1-2).

         The Court disagrees. Defendants claims of prejudice are insufficient to support severance.

 Merely alleging prejudice—including allegations of spillover prejudice similar to those made

 here—is insufficient to support a severance request. See. e.g.. United States v. Walker. 392
                                                                                                     Fed.
 Appx. 919. 926 (3d Cir. 2009) (rejecting arguments for severance that “evidence was so horrili
                                                                                                        c
 it had to spillover into the jury’s mind” and that “specter of violence against witnes
                                                                                         ses was highly
 piLjudicial ) United States   ‘   Kenn 462 F 2d 1205, 1218 (3d Cii 1972) ( th mci possihilit’y

 that in a joint trial some evidence may be admitted against one defendant which is inadmi
                                                                                                ssible

 against another is not in itself a sufficient reason for multiple trials growing out of a closely

 related series of transactions, The prospect that certain evidence will be admissible agains
                                                                                                t one
dctendant hut not against another is a feature of all joint trials ) Heie thue is substantial oerl
                                                                                                   ip
Case 2:10-cr-00851-CCC            Document 260           Filed 02/20/13     Page 6 of 29 PageID: 2583



 of witnesses, co-conspirators and evidence, The charges against Defendants are also consistent:

 all Defendants are charged with some type of extortionate conduct, whether that be the extorti
                                                                                                       on
 of dockworkers or the extortionate collection of credit. Thus this case does not pose a risk
                                                                                                  of
 “spillover” prejudice to “defendants whose alleged activities did not include the sort
                                                                                           of violent or
 heinous o[tLnses with which some of their biethrLn are ha1gLd            Umtd States v Gallo 668 I

 Supp. 736, 750 (E.D.N.Y. 1987). The Government also notes that even if the trials were severed,

 it would be permitted to prove the role of each co-conspirator, the relationships between co

 conspirators and the objectives of the conspiracy at a separate trial. gg Zafiro, 506 U.S. 534,

 540 (1993) (“While an important element of a fair trial is that a jury consider only relevant
                                                                                                 and
 competent evidence bearing on the issue of guilt or innocence, a fair trial does not include the

 right to exclude relevant and competent evidence,”) The Government argues it is entitled to

 present a complete picture of the ILA extortion conspiracy. including that the objective of the

 conspiracy was to enrich the Genovese organized crime family, regardless of whether a RICO or

 Hobbs Act conspiracy charge is alleged. See, e.g., United States v. Heilman, 377 Fed. Appx.

 157, 199 (3d Cir, 2010) (holding “joint trials of defendants charged in a single conspiracy aid the

 fact finder in determining the full extent of the conspiracy.”) The Government notes “regardless

 of status differences between members in the same conspiracy, at the end of the. day, it’s the
                                                                                                   same
 conspiracy. The objectives of the conspiracy are exactly the same. “(Tr. 43: 5-7). The Court

 agrees.

           Additionally, any risk of prejudice arising from a joint trial can be cured by appropriate

 limiting instructions. Defendants argue that the amount of limiting instructions and the frequency




                                                     6
Case 2:10-cr-00851-CCC            Document 260        Filed 02/20/13    Page 7 of 29 PageID: 2584



 with which a jury at trial would hear them would be unduly confusing and ultimately ineffective.’

 This Court disagrees. Here, the evidence is of the type that can be cured with proper instructions.

 Such instructions regularly direct jurors “to compartmentalize the evidence by considering the

 evidence separately as to each defendant and each count.” United Slates v. Lore, 430
                                                                                         F.3d 190,
 205-06 (3d Cir. 2005). In Zafiro, for example, the Supreme Court affirmed that district
                                                                                            court’s
 denial of severance where the court “instructed the jury that it must give separate consideration

 to each individual defendant and to each separate charge against him, Each defendant is entitled

 to have his or her case determined from his or her own conduct and from the evidence that
                                                                                                 may
 be applicable to him or to her.”’ Zaliro, 506 U.S. at 541 (internal citation omitted). This Court in

 United States v. Bergrin agreed: “Bergrin’s allegations of prejudice. while perhaps having some

 basis. are not of such a degree that they necessitate severance, especially when the Court is more

 than capable of fashioning an appropriate limiting instruction if needed.” (United States. v.

 Bergrin, Transcript of Sept. 12, 2012, See Exhibit A to Gov,’s Opp’n Br. ECF No. 223-1 at *44,)


        ‘At oral argument. Defendants pointed the Court’s attention to a Sixth Circuit case.
 United States v. Blackwell, 459 F,3d 739, 762 (6th Cir. 2006) (internal citations omitted), \\here
the Court slated:
         Typically, the danger of guilt transference “can be cured with a cautionary
         instruction to the jury that if it finds multiple conspiracies. evidence relating to
         one conspiracy cannot be considered in examining another conspiracy.” However,
         the more evidence presented at trial that is unrelated to the defendants conduct. or
         a conspiracy in which the defendant took part, the less likely instructions are to
         cure the danger of guilt transference,
l3Iackwell dealt with a prosecution for insider trading, and the allegation on appeal was a
variance: that the evidence established two separate conspiracies rather than one. The jury was
instructed” if acts were done or statements were made by someone whom you do not [md to he a
member of the conspiracy. they may be considered by you as evidence only against the person
who did the acts or made the statement,” However, the Court goes on to say that “we presume
the jury followed these instructions” and concluded that the jurY did not improperly “transfer
guilt” to Blackwell from the other defendants “without first finding that the defendant in question
conspired with Blackwell.”   ,.    at 763.

                                                  7
Case 2:10-cr-00851-CCC          Document 260           Filed 02/20/13    Page 8 of 29 PageID: 2585



  Bergrin had claimed “prej udice on the Kemo Murder Counts because of the volume and
                                                                                                nature
 of the evidence that may come in on the RICO counts,” but the Court found “that the
                                                                                           I ury can
 compartmentalize the evidence of each of the charges and ensure a fair trial” despite the
                                                                                               ‘large
 volume of evidence and numerous witnesses that the jury will hear and consider on
                                                                                         various
 claims.”

         Additionally, in the case at bar, the potentially prejudicial Rule 403 and 404(b) evidence

 presented at trial will only relate to some of the Defendants, Any evidence presented against
                                                                                                     one
 Defendant would be distinguishable from the other Defendants; for example, there is no

 prejudice to Defendant #2 if a victim testifies that Defendant #1 extorted him, And, iflimiting

 instructions are given, the Third Circuit has held that juries are presumed to follow Court

 directions absent compelling evidence that the volume of evidence will overwhelm and confuse

 thjuiy 5cc e g Umted States v Hakim, 344 F 3d 324 330 (3d Cir 2003) Wc bcgm our
                    ,
                                                                    (
 analysis with the presumption that juries follow instructions given, by district courts.” (citing

 United States v. Newbv, 11 F.3d 1143, 1147 (3d Cir. 1993)).


        B. Motion for Bill of Particulars

        DePiro, Cernadas. N. LaGrasso, Dehmer. Aulisi. Leonardis. Ruiz. Trueba. S. LaGrasso.

 and Ferrandino move for a bill of particulars. Specifically, most Defendants ask for three

 categories of information: 1) the identity of the John Does in the indictment: 2) the identity of all

unindicted co-conspirators and aiders and abettors; and 3) the date, time and place pertaining
                                                                                                     to
each alleued extortion.

        Federal Rule of Civil Procedure 7(1) provides a court with discretion to direct the



                                                   8
Case 2:10-cr-00851-CCC          Document 260                  Filed 02/20/13    Page 9 of 29 PageID: 2586



 government to tile a bill of particulars. The “purpose of a bill of particulars is to inform the

 defendant of the nature of the charges brought against him to adequately prepare his defense,
                                                                                                          to
 avoid surprise during the trial and to protect him against a second prosecution for an inadequately

 dLsu ibd ol nse      United States v Addonizio, 451 F 2d 49, 63-64 (3d C ir 1971) (citations

 omitted). it is “firmly established” that ‘a defendant is entitled neither to a wholesale discovery

 of the Government’s evidence    .   .   .   nor to a list of the Government’s prospective witnesses.” ij at.

 64 (citations omitted) Umted States v Kenny 462 F 2d 1205 1212 (3d Cu 1972) (noting
                                                                                     a
 defendant may not present a “set of detailed interrogatories in the guise of a bill of particu
                                                                                                     lars.’);
 UnliLd Statcs v Aimocida 515 F 2d 49 54 (3d Cir 1975) (dclcndant s
                                                                                    iulucst loi th when
 where and how’ of any overt acts not alleged in the indictment was tantamount to a request for

 wholesale discovery of the Government’s evidence,’ which is not the purpose of a bill of

 particulars”).

         The government argues that Defendants have been supplied with the central facts of this

 case via the details set forth in the Indictment and the substantial discovery that has been

 ploduLcd to date g United States v Vastola 670 F Supp 1244 1269 (D                       1 1987) 1 his

 Court agrees. As the functions of a bill of particulars are “more akin to the functions of an

 indictment than to a discovery,” Defendants’ motions are denied. United States v. Smith, 776

 F.2d 1104, 1111 (3d Cir. 1985).

         C. Motion to Suppress Wiretaps

        Cernadas. N. LaGrasso, Dehmer, Aulisi, S. LaGrasso, and Ferrandino all move to

 suppress evidence of intercepted recorded conversations obtained from four sets of Title III

applications. (I) Six cell phones from July 2009 through February 201 0; (2) live cell phones


                                                          9
Case 2:10-cr-00851-CCC         Document 260         Filed 02/20/13      Page 10 of 29 PageID: 2587



  from October 2006 through May 2007; (3) “roving” wire communications to and from various

 public telephones in New Jersey from August 1998 through November 1998 targeting Tino

 Fiumara and (4) Seven cell phones and four locations with electronic hugs during 2000 through

 2002. N. LaGrasso, with whom Cernadas, Depiro and Ferrandnio join, moves to suppress all the

 above reference Title Ill interceptions and the fruits of the evidence on the grounds that the

 applications were statutorily and constitutionally deficient, Dehmer argues that the wiretaps

 should be suppressed because no probable cause existed as there were unreliable cooperating

 witness; and also joins in with other Defendants motions.

         Probable cause to authorize a wiretap “is established if the totality of circumstances’

 contained in the affidavit indicates a probability of criminal activity and that evidence of the

 criminal activity could be obtamed through the use of electronic surveillance.” United States v.

  \mhiosio 898 1 Supp 177 181 (5 D N Y 1995) (quoting l nitcd StcitL’            Rovcl1 903 1 2d

 899 (2d Cii 1 990)) see, e g Umted States       Squiticn 688 F Supp 1 63 1 72 (D N 1 1988)

 (discussing the totality of the circumstances” test as the appropriate standard for evaluating the

 probable cause requirement for a wiretap application). Probable cause exists if the facts in the

 supporting affidavit are “sufficient to warrant a prudent man in believing” that evidence of a

 crime would be disclosed through the proposed wire surveillance. Beck v. Ohio, 379 U.S. 89, 91

  I 964). “Any doubts as to the existence of probable cause should be resolved in favor of

 upholding the authorization,” Ambrosio, 898 F. Supp. at 1 8 1.

        First, N. LaGrasso argues that the 2009-20 10 wiretaps should he suppressed because the

 applications misrepresented necessity. He argues the applications failed to properly advise the

 wiretap judge of the cooperation and breadth of the multi-agency parallel investigation, and that


                                                  10
Case 2:10-cr-00851-CCC          Document 260        Filed 02/20/13       Page 11 of 29 PageID: 2588



 the Government did not use alternative means prior to getting the wiretap. Additionaflv
                                                                                            , N.
  LaGrasso argues that the wiretap was not properly minimized.

         Regarding to the 2006-2007 wiretap, N. LaGrasso argues that the Government lacked

 probable cause and necessity to justify the original 2
                                                      wiretap. He also argues that norma    l
 investigative techniques were not exhausted before the government applied for the Octobe
                                                                                                 r 17,
 2006 Ragonese phone wiretap application. N. LaGrasso also alleges that the 2006-2
                                                                                         007 affidavits
 in support of wiretaps may have failed to disclose all cooperating witnesses and source
                                                                                            s.

         N. LaGrasso requests that this court suppress all interceptions resulting from the Augus
                                                                                                         t
 20, 1 998 Order, and its extension Orders, to intercept roving wire communicatio
                                                                                     ns by Tino

 Fiumara at various pay telephone facilities in New Jersey. Defendant argues that
                                                                                      the roving
 wiretap Order failed to comply with the requirements of 18 U.S.C.
                                                                       § 2518(12).
         N. LaGrasso also argues that the 2000-2002 wiretap interceptions should he suppre
                                                                                                 ssed as
 “during the review of the nearly four decades worth of discovery, it has become eviden
                                                                                            t that the
 wiretap judges may not have been provided with all of the relevant inftrmaiion pertain
                                                                                            ing to
 alternative investigative techniques. cooperating and potential undercover witnesses.”
                                                                                           (N.
 Lagrasso’ s Mem.. ECF No.201).




        The 2006-2007 wiretaps included five sets of interceptions on live separate cell phone
        2
 numbers, subscribed to Patsy Ragonese (“Ragonese phone”), Daniel Dellisanti (“Delli
                                                                                      santi
 phone”), Louis Rizzo (“Rizzo phone”), Mary Hayden (Hayden phone”) and Moe Mathe
                                                                                         wes
 (“Mathewes phone”).

        That section provides in relevant part: “An interception of a communication under
        5
                                                                                                 an
 order with respect to which the requirements of subsections (1 )(b)(ii) and (3 )(d) of this
                                                                                             section do
 not apply by reason of subsection (11 )(a) shall not begin until the place where the
 communicalion is to he intercepted is ascertained by the person implementing the interce
                                                                                               ption
 order” (emphasis added).

                                                   11
Case 2:10-cr-00851-CCC          Document 260         Filed 02/20/13      Page 12 of 29 PageID: 2589



         The Government asks the court to deny all motions to suppress wiretaps, It argues the

 wiretap affidavits demonstrated probable cause and amply discussed the necessity of the

 wiretaps

         As to the 2009-2010 wiretaps, the Government argues that the affidavits established

 probable cause, as the initial wiretap affidavit set forth a detailed recitation of information that

 had been provided by a cooperating witness regarding Dehmer’s and Depiros association with

 the Genovese crime family, the transcript of an excerpt of a consensually recorded telephone
                                                                                                   call
 pertaining to gambling activity, as well as toll analysis that established probable cause that

 Dehmer was using the telephone to manage his bookmaking and poker businesses, and that
                                                                                                  he
 was engaged in conversations with Depiro regarding racketeering activity. With regards to

 necessity, the Government contends that the affidavits presented the alterative methods

 considered and used, and explained the shortcomings of each technique in the context of the

 investigation. In sum, the Government argues that the wiretap affidavits amply and accurately

 discussed the alternative investigative techniques and inform[ed1 the authorizing judicial officer

 of the nature and progress of the investigation and of the difficulties inherent in the use oi normal

 la\\ LntolcLmLnt mLthods      United States ‘ I oncs 901 1 2d 20       231 (2d (ii 1990) (iniLin ii

 quotations omitted).

         Whether the minimization requirements of Title III set forth in 18 U.S.C.
                                                                                      § 2185(5) have
 been met is a fact specific inquiry that focuses on the reasonableness of the actions of the agents

 conducting the surveillance. $ Scott v. United States, 436 U.S. 128, 140-41 (1978). N.

 LaGrasso argues that a high percentage of the calls recorded from his cell phone were personal in

 nature, and constituted pervasive violations. To determine if a conversation is or is not pertinent,


                                                   12
Case 2:10-cr-00851-CCC          Document 260       Filed 02/20/13             Page 13 of 29 PageID: 2590



 the Supreme Court has made clear that a reviewing court should determine whether the agents’

 actions were objectively reasonable in light of the facts and circumstances that confronted
                                                                                                    them
 at the time, and not based upon the agents’ subjective intent. Scott, 436 U.S. at 136-37.
                                                                                                  Scott

 also held that “when the investigation is focusing on what is thought to be a widespread

 conspiracy more extensive surveillance may be justified in an attempt to determine the
                                                                                                 precise
 scope of the enterprise.” ld.at 140. Further, both the Third and Second Circuits have held
                                                                                                     that
 calls “lasting less than two minutes need not be minimized.   .   .   .   Thus, because all calls between

 Giordano and Jones were less than two minutes in length, the government was not required
                                                                                                      to

 mimmize them       Umtcd States v Giordano, 259 F Supp 2d 146, 155 (D Conn 2003) (citing

 United States v. Capra, 501 F.2d 267, 276 (2d Cir. 1974) (observing that two minutes is too

 brief a period for an eavesdropper even with experience to identify the caller and characterize the

 con\clsaUon ) (mteinal quotation marks omittcd)), accoid Aimocida i ‘ F d at 42-46 UmtLd

 St itcs    Ynbiough 527 F 3d 1092, 1098 (10th Cir 2008)( [I]n analyzing thc ieasonablcncss of

 the governments minimization efforts, we exclude calls under two minutes,”).

           For the 2006-2007 wiretaps, the Government argues that it has met its burden to show

 probable cause and necessity to justify the Ragonese phone wiretap and that there was probable

 cause to intercept the Hayden phone. Additionally, the 2006-2007 wiretap aflklavits set torth
                                                                                                       a
 full recitation of the facts, The Government claims there were numerous sources providing

 inflarmation about Ragonese’s and Dellisanti’s criminal activity from 2001 through 2006 and

 there was substantial corroboration of that information and the continued use of the Ragonese

 Phone in furtherance of that activity, Judge Jones had a substantial basis for concluding that they

 were engaged in ongoing criminal activity. The continuous, ongoing nature of the subjects’


                                                  13
Case 2:10-cr-00851-CCC           Document 260        Filed 02/20/13      Page 14 of 29 PageID: 2591



 criminal activity also provides a substantial basis for Judge Joness conclusion that the

 information provided was not stale, as one of the wiretap cases upon which the defendants rely

 provides. See United States v. Rowell, 903 F.2d 899. 903 (2d Cir. 1990) (“Given the continuous

 nature of narcotics conspiracies and Rowell’s statements to the Florida undercover officer about

 his on-going marijuana distribution operation. the approximately 1 8-month delay between

 procuring the informants’ statements and seeking the wiretap warrant did not render the

 information stale,”). The 10/17/06 Lewis affidavit establishes probable cause to believe that

 interception of the Ragonese Phone would relate to the specified offenses.

         Defendants also argue that the Government failed to exhaust other investigative

 techniques, specifically the use of surveillance, subpoenas and witness interviews, before

 applying for Title III interception of the Ragonese Phone. The Government states that in this

 case, the 1 0/1 7/06 Lewis Affidavit provided Judge Jones with a substantial basis for her

 conclusion that other investigative techniques are not feasible. Here, the affidavit detailed in

 several places the subjects’ methods of avoiding surveillance and the inability of law

 enforcement to overhear criminal conversations, including the subjects’ engaging in walk-talks

 and meeting in public 1aces apart from others, despite the fact that both meeting participants had

 just spoken on the telephone.

        Defendants argue that evidence from the Hayden Phone should be suppressed because (1)

 the application flowed from the allegedly deficient affidavits for the Ragonese Phone and other

 allegedly deficient Title III applications; (2) the Hayden Phone Title Ill application lacked

 probable cause in that it failed to establish that interceptions would relate to the specified

 offenses; and (3) alternative investigative techniques were not exhausted. (N. LaGrassoMem., at


                                                   14
Case 2:10-cr-00851-CCC         Document 260        Filed 02/20/13      Page 15 of 29 PageID: 2592



 39-41). Defendants also argue that the suppression of the Hayden Phone also warrants

 suppression of the Mathewes Phone recordings as improperly gained evidence.” (Id. at 39). The

 Government alleges that the interception of the Ragonese Phone was law tiil. Moreover, the

 Government claims that agents were entitled to rely, and did rely in good faith, on Judge Jones’s

 authorization of the interception of the Ragonese. Dellisanti and Rizzo Phones. As with the

 Ragonese Phone, the defendants offer no evidence that agents acted in bad faith in using

 interceptions from the Dellisanti and Rizzo Phones in applying for Title III interception of the

 Hayden Phone or the Mathewes Phone, The Government also states that the defendants claim

 that the Government relied upon the information included in the earlier Ragnoese phone tap and

 subsequent Rizzo and Dellisanti phone taps to support the Hayden tap is untrue, The Government

 then provides independent evidence establishing probable cause that communications intercepted

 over the Hayden Phone would relate to the specified offenses, including information that

 Coppola and other Genovese members were involved in illegal gambling, in addition, the

 2/15/07 Lewis Affidavit detailed information corroborated by numerous sources that Paul

 Coppola was collecting extortion payments relating to the Genovese family’s (including Michael

 Coppola’s) extortion of the unions and businesses servicing the New Jersey ports and that Paul

 Coppola and Dellisanti engaged in numerous anti-surveillance techniques. including using

 pavphones. calling cards and pagers in order to speak with the person using the Hayden Phone.

 during the time period sources claim that Paul Coppola received these extortion payments.

        Defendants also complain that the Hayden Phone affidavit failed to establish probable

 cause that a targeted individual would use the phone during the period requested for

 interceptions. (N. LaGrasso Mem., at 40). The Government counters. stating that this allegation


                                                 15
Case 2:10-cr-00851-CCC                 Document 260    Filed 02/20/13   Page 16 of 29 PageID: 2593



  plainly lacks merit as the 2/15/07 Lewis Affidavit is ‘replete with facts establishing current

  criminal contact among the subject individuals.”

          Finally, Defendants claim that the wiretap affidavits in 2006 and 2007 may have failed

  to disclose all cooperating witnesses and sources,” accusing the government of appearing
                                                                                              to
 “cherry-pick information” and failing to “disclose the full scope and purpose of the

  investigation.” (N. LaGrasso Mem., at 41). The Government argues that the Defendants allege

 no facts to support their speculative assertions and their demand for the Government to “verify”

 that the entire federal government and ‘other law enforcement agencies were not employing
                                                                                                   any
 additional cooperating witnesses and/or undercover agents at the time of the affidavits
                                                                                           for those
 wiretaps” N. LaGrasso Mern., at 42) is without a basis in law.

          The Government next contends that the 1998 “roving wiretap” was not overbroad and

 satislied the requirements of 18 U.S.C. § 2518(12) and the Fourth Amendment.

          Defendants argue that the New Jersey Roving Wiretap Orders failed to stipulate that no

 interception could occur unless visual surveillance indicated that Tino Fiumara was present. (N.

 LaGrasso Mern., at 44). Defendants argue the orders therefore violated the requirements of 1$

 U.S.C.   § 2519(12) and failed to meet the particularity requirements of the Fourth Amendment.
 (id). The New Jersey Roving Wiretap Orders contain the following language:

          IT IS.   . ORDERED that Special Agents of the Federal Bureau of Investigation
                       .




          C’FT3I”), and individuals operating under contract with the Government under the
          supervision of the FBi supervising agent are authorized and directed, consistent
          with the Application approved by an appropriately designated official of the
          Ciiminal Daision United States Department of Jusflce, vhom the Attoine
          General has specifically designated to exercise the power conferred by 18 U.S.C.
          § 2516, to     intercept and record roving wire communications to and from
                           .   .   .




          various and changing pay telephones located in Ocean and Monmouth Counties.
          New Jersey and utilized by TINO RICHARD FIUMARA.


                                                      16
Case 2:10-cr-00851-CCC                  Document 260        Filed 02/20/13      Page 17 of 29 PageID: 2594



 (N. LaGrasso Exs. BE at ILA 2192-93, FF at ILA 2328-29, and GO at ILA 2507-08) (emph
                                                                                                           asis
 added), The Government argues that based on this language. the wiretap order dearly

 incorporates the contents of the underlying applications, which limits the agents’ ability
                                                                                                     to
 intercept Tino Fiumara’s communications to instances in which Fiumara is confirmed,
                                                                                                   by
 physical surveillance, to be using one of the New Jersey payphones equipped with eavesd
                                                                                                        ropping
 equipment. (See, e.g.. 1LA 2308 (‘interception will only commence when an agent engagi
                                                                                                          ng in

 physical surveillance observes TINO RICHARD F1UMAR\ at a pay telephone or enterin
                                                                                                        ga
 building   .   .   .   where he is believed to have used a pay telephone in the past”)). Furthermore, the

 applications also contain provisions calling for the immediate suspension of interceptions
                                                                                                          when
 “it is determined through voice identification, visual observation, or otherwise, that TINO

 RICHARD FIUMARA, when identified, is not a participant in the conversation.” (Id.). In sum,

 the government argues that because the New Jersey Roving Wiretap Orders incorporate the

 supporting applications which include the specificity iequiicd by 18 U S C               25 18(12) and thc

 lourth Amendment, they are not unconstitutionally overbroad and should not he suppressed.

        Defendants assert that the wiretaps from the waterfront investigation conducted in 2000

 to 2002 should be suppressed. The Government argues that as an initial matter, none of the

 Defendants in this case have standing to challenge these wires as none of them were intercepted.

 In addition, the unsupported assertion that the wiretap applications failed to provide the judges

 with all relevant information regarding necessity and possible sources of information
                                                                                                  are vague.

 speculative and do not form a basis for suppression or further inquiry.

        This Court agrees with the Government’s characterization of the affldavits and wiretap

 applications, and thus denies Defendants’ motions to suppress the various wiretap
                                                                                             s.


                                                           17
Case 2:10-cr-00851-CCC         Document 260           Filed 02/20/13           Page 18 of 29 PageID: 2595



         D. Motion for Additional and Immediate Production Brady, Giglio, Jencks Act and

 404(b) Material

         Defendants Depiro. Cernadas, Aulisi, N. LaGrasso. Leonardis. Ruiz. Trueba. Ferrandino.

 and Porrao make various motions in relation to discovery material.

        Defendants argue that it is a “basic proposition of law that the Government has an

 obligation to provide defense counsel with evidence that is in its possession. custody and control.

 that relates to its obligations under Brady and Giglio.   .   .   and Jencks, and also impacts its

 obligation under Rule 16(a)(i)(E) as it pertains to this case.” (Tr, 52:9-15).

        In Biath the Supiernc Couit held that the suppression by thc piosccutaon of cvidcncc
                                                 ‘




 favorable to an accused upon request violates due process where the evidence is material either to

 guilt or to punishment, irrespective of the good faith or bad faith of the prosecution.” jra’\.

 Maryland, 373 U.S. 83, 87 (1963). In Giglio v. United States, 45 U.S. 150, 154 (1972), the

 Supreme Court held that the government must also disclose material which affects the credibility

 of a potential witness. The Jencks Act requires the Court, on a defendant’s motion, to order the

 government to produce witness statements [ajfter a witness called by the United States has

 testiIed under direct examination.” 1 8 U.S.C. § 3500(b).

        As a threshold matter, the Court notes that the Government has acknowledged their

 obligations in regards to Brady and Jencks Act material. The Government recognizes the

 “salutary practice” of “delivering Jencks material to defense counsel sufficiently in advance of

 the conclusion of direct examination to obviate trial interruptions.” Murphy. 569 F.2d at 773 n,5,

 in this case, given the number of witnesses expected to be called, the Government has agreed to

 produce Jencks material at least one week before the testimony of each witness, The Court so


                                                     18
Case 2:10-cr-00851-CCC          Document 260          Filed 02/20/13       Page 19 of 29 PageID: 2596



 orders. Regarding to Brady and Giglio material in the Government’s actual possession. the Court

 expects the Government to fulfill its obligations in the appropriate time. The Government will

 disclose all Giglio material at least one week prior to each witness’s testimony.

         Additionally, at this time, the Government has not determined what. if any. Rule 404(b)

 evidence it intends to introduce at trial. (ECF No. 223). The Government has acknowledged
                                                                                           its
 obligation to make pre-trial disclosure of such information, and consistent with the practice
                                                                                                    of
 this Court will do so at least ten (10) days before trial if it determines that it will seek to offer
                                                                                                         any

 evidence under that rule.

         Finally, in their motions, and more succinctly at oral argument, Defendants argued that

 the Government, in their cooperation with other government agencies, has not fully disclosed all

 the relevant evidence that Defendants are entitled to under Brady, Gigiio, and the Jencks Act.

 Specifically, N. LaGrasso requests “any and all information developed by the Waterfront

 Commission of New York Harbor during the time frame charged in the Indictment pertaining to

 the charges.” (ECF No. 201 at 6). The Government states in their Opposition papers:

        The defendants are simply incorrect to assert that New Jersey authorities were
        ‘working with’ the federal investigators tasked with the investigation. In fact, there
        was at no time a joint investigation into the Genovese crime family’s waterfront
        rackets by the state and federal authorities. Rather, although the investigators
        occasionally shared limited information, the law enforcement officials working on
        their respective state and federal investigations did not have real-time access to the
        information gathered by the other, and the federal government was not in a position
        to direct the state investigators.

 N. LaGrasso notes “when you put the superceding Indictment together with the original

 Indictment, there are 18 defendants.” (Tr. 57:15-17). N. LaGrasso argues that “the Waterfront

 Commission has played an active role in the investigation,” and at oral argument. produced a



                                                    19
Case 2:10-cr-00851-CCC          Document 260         Filed 02/20/13        Page 20 of 29 PageID: 2597



 document from the \Vaterfront Commission report for the 2010-201 1 flsca year. (Sec
                                                                                           [‘he
 Vvatertront Commission of New York Harbor Annual Report 2010-20 1 1 (“Commissio
                                                                                           n

 Rcpoi t ) a allabiL at hnp /        ‘   cn h 01 g ‘docs/V (\\ I I_20 11   \nnu ii   iilt) I hc.

 report states:

         [Tihe Commission has not only become the central repository of information about
         criminality and security in the Port of New York New Jersey, but also a skilled
                                                                -




         investigative agency. highly regarded by our law enforcement partners. This ear. the
         Commission led or significantly participated in investigations and prosecutions that
         resulted in the indictment of key organized crime figures and corrupt union officials.
         \korking with New York and New Jersey state and federal authorities, the
         Commission engaged in court-ordered electronic and physical surveillance, executed
         search warrants and developed confidential sources and informants which resulted
         in the arrest of 160 individuals, including 18 in the highly publicized January 2011
         “mob takedown.” The Commission provided critical records, surveillance reports and
         photographs and was involved in the investigative and prosecutorial planning of that
         matter. Participation was not limited to our detectives alone, as Commission
         attorneys conducted over forty interviews under oath to supplement the criminal
         investigations.

         Prosecutors have an obligation to make a thorough inquiry of all enforcement agencies

 that had a potential connection with the witnesses, United States v. Thornton, 1 F.3d 1 49, 158

 (3d Cir, 1 993). However, “prosecutors are not required to undertake a ‘fishing expedition’ in

 other jurisdictions to discover impeachment evidence. For example, prosecutors are not obligated

 to learn of’ all information ‘possessed by other government agencies that have no involvement in

 the investigation or prosecution at issue.”. United States v. Risha, 445 F.3d 298, 304 (3d Cir.

 2006)(quoting United States v. Merlino, 349 F.3d 144, 154 (3d Cir. 2003)).

         The Third Circuit has held that, under certain circumstances, evidence possessed by state

 agents may he “constructively possessed” by a federal prosecutor such that the prosecutor has a

 duty to obtain that evidence and disclose it to the defense.       United Stales v. Risha. 445 F.3d



                                                   20
Case 2:10-cr-00851-CCC            Document 260             Filed 02/20/13   Page 21 of 29 PageID: 2598



 298, 303-06 (3d Cir.2006). Constructive possession has been defined by the Third Circui
                                                                                                 t “to
 mean that although a prosecutor has       no   actual knowledge. he should nevertheless have known

 that the material at issue was in existence. Accordingly, we consider whether the prosec
                                                                                             utor
 knew or should have known       of   the materials even though they were developed in another case.”

 United States v. Joseph. 996 F.2d 36, 39 (3d Cir.l993) (emphasis added).

         In Risha, the Third Circuit considered whether it was proper to impute to a federal

 prosecutor the knowledge of state agents that a key witness who had testified against Risha
                                                                                                    in a
 federal criminal case expected leniency for an unrelated state criminal charge in return
                                                                                             for his
 cooperation in the federal case. Risha 445 F. 3d. The key in Risha is that no eviden
                                                                                         ce was
 presented that the federal prosecutors in Risha’s case had “actual knowledge” of the key

 witness’s expectation or of a pending plea agreement. The Court held that under certain fact

 findings, such knowledge might be imputed. j at 299.

        in addressing the issue of cross-jurisdiction constructive knowledge, the questions that

 must he asked are   “   (I) whether the party with knowledge of the information is acting on the

 government’s ‘behalf or is under its ‘control’; (2) the extent to which state and federal

 governments are part of a ‘team,’ are participating in a ‘joint investigation’ or are sharing

 resources: and (3) whether the entity charged with constructive possession has ‘ready access to
                                                                                             ’
 the evidence.” United States v. Risha, 445 F.3d at 304.

        First, there is the question whether a party with actual knowledge of the impeachment

 information was under the federal government’s control or acting on its behalL See. e.g..

 Moreno-Morales v. United States, 334 F.3d 140, 146 (1st Cir. 2003) (finding that “the Puerto

 Rico Senate was not acting on behalf of the federal government”): United States v.


                                                      21
Case 2:10-cr-00851-CCC          Document 260         Filed 02/20/13       Page 22 of 29 PageID: 2599



 Leos-HermosiHo, No. 98-50546, 2000 WL 300967 at *3, 2000 U.S. App. LEXIS 5012 at *8 (9th

 Cir. Mar. 22, 2000) (holding that even though an officer “was not employed by        ...   the idera1

 government, he was no less an agent of the federal government; he was acting on its behalf and

 subject to its control”). “What is at issue here, at least generally, is the intermingling of state and

 federal forces.” Risha 445 F. 3d at 304. While the record is not clear on how much intermingling

 occurred, the Waterfront Commission explicitly states in their official report that they were

 involved in the investigative and prosecutorial planning of the matter at hand. (Commission

 Report). While it is unclear whether the Commission was under the federal government’s

 control, it is clear it was acting on behalf of the federal government and its agents.

        Related to the question whether an agent is acting on behalf of the government is the

 question whether the forces are part of a team or are engaged in a joint effort. See,           United

 StItes\ l3eeis 1891 3d 1297, 1303-04(l0thCir 1999), Moon Head 28 F 3d 1301 1310

 (11th Cir.2002) (refusing to impute to a Georgia prosecutor evidence possessed by a Tennessee

 l3ureau of Investigation agent because the agencies shared no resources or labor); United States

 v. Brooks, 966 F.2d 1500, 1503 (D.C.Cir.1992) (holding that the prosecution must search tiles of

 other branches of government if they are closely aligned with the prosecution or have a “close

 working relationship”). Here, it appears there is a close relationship between the state and federal

 government. The Waterfront Commission stated that it “led or significantly participated in

 investigations and prosecutions” that led to indictments, including the one at issue. (Commission

 Report).

        The last question is whether the evidence in question was readily available to the

 prosecution. See, e.g., Kasi v. Angelone, 300 F.3d 487, 506 (4th Cir,2002); United Statesv.
Case 2:10-cr-00851-CCC         Document 260         Filed 02/20/13      Page 23 of 29 PageID: 2600



 Auten, 632 F.2d 478, 481 (5th Cir.1980). The Government plainly states in their brief that “the

 law enforcement officials working on their respective state and federal investigations did not

 have real-time access to the information gathered by the other.” (ECF No. 223 at 62).

         Balancing the above three inquiries, this Court finds that the federal government was in

 constructive possession of Waterfront Commissions “critical records, surveillance reports
                                                                                                  and
 phoiographs” and was “involved in the investigative and prosecutorial planning.” (Comm
                                                                                                  ission
 Report). Based on the official report of the Waterfront Commission. it is clear that there was
                                                                                                        at
 the very least a cooperative investigation between state and federal agents. although it appear
                                                                                                        s
 that the involvement was more coordinated, with the agencies sharing documents and

 infbrmation. Thus. this Court directs the Government to provide Defendants with any
                                                                                          l3rady,
 Giglio or Jencks Act material that they are in constructive possession of from the Waterf
                                                                                                 ront
 Commission.

        E. Motion to Suppress Surplusage in the Indictment

        S. LaGrasso moves to strike (1) Mob related words; (2) catch-all phrases; and (3)

 allegations of criminal activity from the Indictment. S. LaGrasso argues that the introdu
                                                                                           ction of
 ‘La Cosa Nostra,’ ‘Genovese Family,’ ‘Mafia,’ and other mob and organized crime related
                                                                                                   names
 in the preamble to the Indictment will “unmistakenly cause the jury to unnecessarily and

 prejudicially consider the enterprise’s name as some consciousness or evidence of guilt.”
                                                                                                  lie
 argues that as there are no allegations reciting any direct or indirect connections betwee
                                                                                             n
 Salvatore LaGrasso and La Cosa Nostra,’ ‘Genovese Familv,’and the ‘Mafia.’ the langua
                                                                                                  ge
 should he stricken from the indictment. S. LaGrasso next moves to strike all vague, catch-a
                                                                                                   ll
 language. arguing that such language is irrelevant and allows the jury to draw improp
                                                                                        er


                                                 23
Case 2:10-cr-00851-CCC         Document 260         Filed 02/20/13     Page 24 of 29 PageID: 2601



 inferences, He moves to strike speci1cally the terms “numerous,” “among other things,”

 “various,” “others,” and “criminal activities.” S. LaGrasso also moves to strike any allegations
                                                                                                     of
 criminal activity in the preamble which are not alleged to be a predicate racketeering act in the

 Indictment nor are alleged to be an overt act in furtherance of any conspiracy in the Indictment.

         Dehmer moves to strike (1) the aliases in the caption of the indictment; and (2) any and

 all mention of’ La Cosa Nostra. The caption of the Indictment has included an alleged alias
                                                                                               for
 nine of the fourteen defendants charged. Dehmer is listed as having an alias of “Dickie,” He

 argues there is no reason to offer such name in the indictment, especially when some of
                                                                                           the other

 defendants are given alias names to support a crime family image. Dehmer alleges there has
                                                                                                   been
 no showing that his alias is relevant, and thtis should be stricken

         Additionally the indictment, numbering 143 pages and 1 72 paragraphs, makes only four

 mentions of’ La Cosa Nostra, charging that La Cosa Nostra is the racketeering enterprise and that

 the alleged Genovese crime family was one of the crime families that constituted La Cosa Nostra.

 Such references are made in the introductory portion of the indictment. The remainder of the

 indictment focuses on the alleged members’ actions and the actions of others. Dehmer alleges

 that no link between the alleged Genovese crime family and La Cosa Nostra other than the

 boilerplate language referenced above is mentioned: notably, beyond that initial assertion there
                                                                                                     is
 not even a further reference to La CosaNostra. Dehmer argues that there is no substantive link
                                                                                                     to

 La Cosa Nostra alleged, and thus any mention should be stricken from the indictment.

        The Government argues that Defendants Dehmer and S. LaGrasso seek merely to sanitize

 the indictment ‘without reference to controlling law, and in fact they cannot point to any

 allegation in the charging instrument that is irrelevant and prejudicial.” (ECF No. 223 at 37).


                                                  24
Case 2:10-cr-00851-CCC          Document 260        Filed 02/20/13       Page 25 of 29 PageID: 2602



         A district court may strike surplusage from the indictment or information. FED. R. CRIM.

 P. 7(d). “This rule introduces a means of protecting the defendant against immaterial or irrelevant

 allegations in an indictment or information, which may. however, he prejudicial.” Fed. R. Crim.

 P. 7(d) Advisory Committee’s Note. In United States v. Hedgepeth. 434 l.3d 609. 612 (3d Cir.

 2006). the Court of Appeals clarified that Rule7(d) is to be read in the conjunctive. As stated by

 the Third Circuit:

         Logic demands the conjunctive standard: information that is prejudicial. yet relevant
         to the indictment, must be included for any future conviction to stand and
         information that is irrelevant need not be struck if there is no evidence that the
         defendant was prejudiced by its inclusion.

 ld.The court held that a court may oni “strike surplusage from the indictment or information

 when it is both irrelevant (or immaterial) and prejudicial.” N.. Accordingly, motions to strike

 surplusage are rarely granted. United States v. Aguilar. 256 F. Supp. 2d306. 317 (D.N..T. 2003).

 This rarity is due to the “exacting standard” described above. $.ç United States v. Giampa. 904

 F. Supp. 235 (D.N.J. 1995).

         This Court does not find the information in the Indictment to be both irrelevant and

 unfairly prejudicial. Thus, Defendants motions are denied,

         F. Motion for Leave to File Additional Motions

         Pursuant to ongoing discovery, this Court grants Defendants leave to file additional

 motions if they become necessary.

        C. Dehmer’s Motion to Dismiss Counts I and 2

        Dehmer moves to dismiss Count 1 and 2 as they pertain to him because he alleges that the

 charges do not explain how he participated in the affairs of the enterprise through a pLttteI’n
                                                                                                   of




                                                  25
Case 2:10-cr-00851-CCC           Document 260        Filed 02/20/13      Page 26 of 29 PageID: 2603



 racketeering activity. The first 137 racketeering acts in the Count One RICO conspiracy
                                                                                              covers
 23 pages of the indictment and alleges extortionate acts by co-conspirators involving
                                                                                          the IL\ hut
 no mention is macic of Dehmer.

           The Government argues that both Counts contain the elements of the offenses intended
                                                                                                         to
 be charged. apprise Dehmer of what he must be prepared to meet, and would allow him
                                                                                             to plead
 double jeopardy in the event of a subsequent prosecution. The indictment makes plain
                                                                                            that it is

 Dehmer’s commission of specific criminal acts in furtherance of the long-term goals of the

 alleged enterprise that constitute his violation of RICO. The Court agrees with the Government’s

 position, and Dehmer’s motion to dismiss is denied.

           H. Dehmcr’s Motion to Exclude Expert Testimony

           The Government proposes to present the testimony of an expert in the field of organized.

 crime. Dehmer argues that testimony on La Cosa Nostra is not required for the jury to be able to

 evaluate the alleged actions of Dehmer and the others, or even to assess their alleged organization

 as a crime family.” This evidence will, instead, he alleges, confuse the jury by adding layer upon

 layer of evidence that is unrelated to the factual allegations of Mr. Dehmer and others. He claims

 such an expert would serve no probative value and only serve to unduly prejudice him and the

 others.

           At trial. the Government maintains it will offer agent expert testimony about the internal

 operating rules of organized crime families, see United States v. Pungitore, 910 F.2d 1084.

 1148—49 (3d Cir.1990), the identification of members of the Genovese and other crime families

 involved in this case, see United States v, Locascio, 6 F3d 924, 936 (2d CirA 993), as well as

 rules of conduct of organized crime members and associate, their code of silence, and the


                                                   26
Case 2:10-cr-00851-CCC            Document 260        Filed 02/20/13      Page 27 of 29 PageID: 2604



 meaning      of certain relevant jargon. ,gg United States v. Riccobene. 709 F.2d 214, 230- 31 (3d

 Cir. 1983), overruled on other grounds by Griffin v. United States, 502 U.S. 46 (1991).

         The essential elements for conspiracy to violate RICO requires proof that the “defendants

 knowingly agreed to participate in the enterprise’ through a pattern of racketeering.” Riccobene.

 709 F.2d at 220-21. In Count Two, the government must prove beyond a reasonable doubt that

 the charged defendants, being associated or employed by the enterprise alleged in the

 Superseding Indictment, collected an “unlawful debt,” 18 U.S.C. §1962(d).

         In Daubcrt v Merrell Dow Phaimaceuticals mc, 509 U 5 579 (199) the Supreme

 Court explained, “Rule 702 further requires that the evidence or testimony ‘assist the trier of fact

 to understand the evidence or to determine a fact in issue.’ This condition goes primarily to

 relevance.”, at 591. Although the proffered expert testimony must be relevant, or “fit,” an

 issue to he determined by the jury, In re TMI Litigation, 193 F.3d 613, 670 (3d Cir. 1999), the

 Third Circuit has repeatedly expressed the view that the standard for this re1evanc factor “is not

 th it high    In ic Paoli R R Yard PCB Litigation 35 F 3d 717 745 (3d Cii 1994) IILIL thL

 proffered expert agent testimony precisely “fits” with issues of fact that must he determined by

 the jury as to Counts One and Two. Thus, assuming the Government properly qualifies the

 expert, such testimony will be permitted.

         1. 1)ehmer’s Motion for a Pretrial Hearing on Co-Conspirator Statements

         Dehmer also moves for a pretrial hearing to determine the admissibility of co-conspirator

 statements,    Before admitting any out of court conspirator statement, the court must flrst

 determine that the government has “established the existence of the alleged connection of each

 defindant with it by a clear preponderance of the evidence independent of the hearsay


                                                    27
Case 2:10-cr-00851-CCC           Document 260                Filed 02/20/13      Page 28 of 29 PageID: 2605



 declarations.” United States v. Continental Group. Inc.. 603 F. 2d 444. 457 (3d Cir. 1979). ggt.

 denied. 444 U.S. 1032 (1980).

        The Third Circuit has explained that co—conspirator statements may he introduced at trial

 “without a prior showing of a conspiracy based on independent evidence, subject to the

 requirement that the government make such a showing by the close of its case.” United States v,

 Ammar, 714 F.2d 238, 246 (3d Cir. 1983). The Government argues that a pre-trial hearing would

 amount to a mini trial outside the presence of a jury; given the nature of the testimony regarding

 the conspiracy. it would be forced to present most of its case-in-chief in order to show the

 parlicjpaton of the defendant and declarant in an ongoing conspiracy. The Court agrees: there is

 no need for a pre-trial hearing, and thus Dehmer’s motion is denied,

        J. Ruiz’s Motion asking this Court to revisit its prior ruling preventing him from

 communicating in any manner with anyone at the pier

        At this time the Court declines to revisit its prior ruling, and the order preventing Ruiz

 from communicating in any manner with anyone at the pier stands.

        K. Ruiz’s Motion to Dismiss Count 90 for Improper Venue

        Count 90 charges Ruiz with obstruction ofjustice in connection with a federal grand jury

 investigation being conducted in the Eastern District of New York. Ruiz argues there is “no

 indication in the Count itself or in any other material provided to counsel to indicate that venue is

 proper for this Count in the District of New Jersey.

        As the Government points out, the statute expressly permits the prosecution to he venued

 in New Jersey: “A prosecution under this section or section 1 503 may be brought in the district in

 which the official proceeding   .   .   .   was intended to be affected or in the district in which the


                                                           28
Case 2:10-cr-00851-CCC          Document 260        Filed 02/20/13       Page 29 of 29 PageID: 2606



 conduct constituting the alleged offense occurred.” 18 U.S.C. § 1 5 1 2(i) The Government alleges

 that it expects that the trial evidence will prove that Ruiz. when he became aware of law

 enforcement’s investigation into the New Jersey waterfront. engaged in conduct in New Jersey to

 conceal evidence representing proceeds of the extortions, Accordingly, Ruiz’s motion to dismiss

 is denied.

 Iv.     CONCLUSION

         For the reasons stated above, it is the finding of this Court that Defendants pretrial

 motions are denied in part, granted in part. An appropriate Order accompanies this Opinion.




                                                              5 NI.




 Dated:         February  A   ,2013
 Original:      Clerk’s Office
 cc:            All Counsel of Record
                File




                                                  29
